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 6
     Attorneys for Plaintiff HSBC BANK USA, NATIONAL ASSOCIATION AS TRUSTEE FOR
 7   SEQUOIA MORTGAGE TRUST 2007-3

 8                          IN THE UNITED STATES DISTRICT COURT

 9                                      DISTRICT OF NEVADA

10   HSBC BANK USA, NATIONAL
     ASSOCIATION AS TRUSTEE FOR                          Case No.: 2:16-cv-02126-APG-VCF
11   SEQUOIA MORTGAGE TRUST 2007-3,
                                                         HON. ANDREW P. GORDON
12                        Plaintiff,

13   V.                                                  STIPULATION AND ORDER TO DISMISS
                                                         DEFENDANT TWO TURNBERRY PLACE
                                                         CONDOMINIUM ASSOCIATION
14   TWO TURNBERRY PLACE
     CONDOMINIUM ASSOCIATION, a Nevada
15   Non-profit Corporation; NEVADA
     ASSOCIATION SERVICE, INC., a Nevada
16   Corporation; RICHARD E. LOVE, Trustee of
     the REL Living Trust dated December 23, 2004,   1




17   and any amendments thereto; DOES 1 through
     1O; and ROE CORPORATIONS 11 through 20,
18
                          Defendants.
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21
            IT IS HEREBY STIPULATED by and between Plaintiff HSBC BANK USA, NATIONAL
22
     ASSOCIATION AS TRUSTEE FOR SEQUOIA MORTGAGE TRUST 2007-3 ("Plaintiff') and
23
     Defendant TWO TURNBERRY PLACE CONDOMINIUM ASSOCIATION ("Defendant"),
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 1   through their undersigned counsel, that the remaining damages claims brought by Plaintiff against

 2   Defendant be dismissed with prejudice in the above-captioned action pursuant to Federal Rule of

 3   Civil Procedure 4l(a)(2), with each party to bear their fees and costs in the action.

 4
     Dated: October 19, 2020               HOUSER LLP
 5

 6                                         Isl Jeffrey S. Allison
                                           Jeffrey S. Allison, Esq.
                                           Plaintiff HSBC BANK USA, NATIONAL
 7                                         ASSOCIATION AS TRUSTEE FOR
                                           SEQUOIA MORTGAGE TRUST 2007-3
 8

 9
     Dated: October 19, 2020               WOLF, RIFKIN, SHAPIRO, SCHULMAN & RABKIN, LLP
10
                                           Isl David Stern
ll                                         David Stem, Esq.
                                           Defendant TWO TURNBERRY PLACE
12                                         CONDOMINIUM ASSOCIATION

13

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16                                                 ORDER

17          Based on the foregoing, IT IS HEREBY ORDERED that Defendant TWO TURNBERRY

18   PLACE CONDOMINIUM ASSOCIATION is dismissed from this action, each party to bear its

19   respective fees and costs.

20

21          October
     DATED: _ _ _20_., 2020
                                                            U.S . DISTRICT COURT JUDGE
22

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24



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        Case 2:16-cv-02126-APG-VCF Document 35 Filed 10/20/20 Page 3 of 3




                                         CERTIFICATE OF SERVICE

 2           I hereby certify that I am over the age of eighteen ( 18), I am not a party to this action, and
     that on this date I caused to be served a true and correct copy of the following documents:
 3   STIPULATION AND ORDER TO DISMISS DEFENDANT TWO TURNBERRY PLACE
     CONDOMINIUM ASSOCIATION by:
 4                  X ECF
 5                      U.S. Mail

 6                      Facsimile transmission

                    _ Overnight Mail
 7
                    _ Hand and/or Personal Delivery
 8

 9   and addressed to the following:
      Gregory P. Kerr, Esq.
10    Douglas M. Cohen, Esq.
      David Stem, Esq.
11    Wolf, Rifkin, Shapiro, Schulman & Rabkin,
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15           dstem@wrslawyers.com

16   Attorneys for TWO TURNBERRY PLACE
     CONDOMINIUM ASSOCIATION
17

18
     Dated: October~      2020
19                                                           Isl Jasmine Blanco
                                                             An employee of HOUSER LLP
20

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